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                           UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF SOUTH CAROLINA


In re:                                                      Case No. 14-04844-dd
         RALPH BLANTON SHEALY

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Joy S. Goodwin, chapter 13 trustee, submits the following Final Report and Account of
the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 08/27/2014.

         2) The plan was confirmed on 12/15/2014.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 03/05/2015.

         5) The case was dismissed on 04/08/2015.

         6) Number of months from filing to last payment: 7.

         7) Number of months case was pending: 9.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $74,125.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

        Total paid by or on behalf of the debtor                 $9,896.50
        Less amount refunded to debtor                               $0.00

NET RECEIPTS:                                                                                        $9,896.50


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                   $2,160.72
    Court Costs                                                                 $0.00
    Trustee Expenses & Compensation                                           $613.58
    Other                                                                       $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                    $2,774.30

Attorney fees paid and disclosed by debtor:                   $1,500.00


Scheduled Creditors:
Creditor                                         Claim         Claim            Claim        Principal      Int.
Name                                   Class   Scheduled      Asserted         Allowed         Paid         Paid
American Express                   Unsecured      1,200.00       1,019.75         1,019.75           0.00       0.00
AXA Equitable Life Insurance Co.   Secured        6,000.00            NA               NA            0.00       0.00
Bank of America                    Unsecured      8,100.00            NA               NA            0.00       0.00
BARNES OIL & PROPANE               Unsecured         778.00        803.06             0.00           0.00       0.00
CHASE                              Unsecured     12,243.00            NA               NA            0.00       0.00
CHASE                              Unsecured      8,702.00            NA               NA            0.00       0.00
DISCOVER BANK                      Unsecured         448.00        444.96           444.96           0.00       0.00
DISCOVER BANK                      Unsecured         971.00        964.24           964.24           0.00       0.00
ECAST SETTLEMENT CORP              Unsecured      6,119.00       5,978.63         5,978.63           0.00       0.00
GECRB/JC Penny                     Unsecured         276.00           NA               NA            0.00       0.00
Gecrb/Lowes                        Unsecured         235.00           NA               NA            0.00       0.00
James B. Shealy Jr.                Unsecured      5,000.00       5,000.00         5,000.00           0.00       0.00
Park Sterling Bank                 Secured      123,049.10    135,813.66       135,813.66       7,122.20        0.00
PORTFOLIO RECOVERY ASSOC           Unsecured      5,141.00       5,078.98         5,078.98           0.00       0.00
PORTFOLIO RECOVERY ASSOC           Unsecured      3,476.00       3,552.88         3,552.88           0.00       0.00
PORTFOLIO RECOVERY ASSOC           Unsecured      2,517.00       2,149.74         2,149.74           0.00       0.00
PORTFOLIO RECOVERY ASSOC           Unsecured         914.00        914.09           914.09           0.00       0.00
PORTFOLIO RECOVERY ASSOC           Unsecured      1,207.00       1,169.59         1,169.59           0.00       0.00
Saluda Motor Sales                 Unsecured         772.00      5,134.71         5,134.71           0.00       0.00
SC DEPARTMENT OF REVENUE           Priority             NA         745.70           745.70           0.00       0.00
SC DEPARTMENT OF REVENUE           Unsecured            NA         785.97           785.97           0.00       0.00
Sears/Cbna                         Unsecured      1,434.00            NA               NA            0.00       0.00
Suntrust Bank Atlanta              Unsecured      2,652.00       2,625.14         2,625.14           0.00       0.00
Synchrony Bank                     Unsecured          46.00         73.57            73.57           0.00       0.00
UNITED STATES TREASURY FOR IRS     Unsecured            NA          55.02            55.02           0.00       0.00
UNITED STATES TREASURY FOR IRS     Priority             NA       5,641.40         5,641.40           0.00       0.00
Verizon                            Secured              NA            NA               NA            0.00       0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00              $0.00              $0.00
       Mortgage Arrearage                                     $0.00              $0.00              $0.00
       Debt Secured by Vehicle                                $0.00              $0.00              $0.00
       All Other Secured                                $135,813.66          $7,122.20              $0.00
 TOTAL SECURED:                                         $135,813.66          $7,122.20              $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                            $0.00                $0.00            $0.00
        Domestic Support Ongoing                              $0.00                $0.00            $0.00
        All Other Priority                                $6,387.10                $0.00            $0.00
 TOTAL PRIORITY:                                          $6,387.10                $0.00            $0.00

 GENERAL UNSECURED PAYMENTS:                             $34,947.27                $0.00            $0.00


Disbursements:

         Expenses of Administration                             $2,774.30
         Disbursements to Creditors                             $7,122.20

TOTAL DISBURSEMENTS :                                                                        $9,896.50


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 06/11/2015                             By:/s/ Joy S. Goodwin
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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